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                                                                               E-FILED
                                              Tuesday, 22 September, 2009 03:11:28 PM
                                                          Clerk, U.S. District Court, ILCD

1                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS
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5     UNITED STATES OF AMERICA,                 )
                                                )
6                           Plaintiff,          )   Criminal No.
                                                )   09-10030
7                vs.                            )   Peoria, Illinois
                                                )   September 21, 2009
8     ALI SALEH KAHLAH AL-MARRI,                )
                                                )
9                           Defendant.          )
10
11
12             TRANSCRIPT OF TELEPHONE CONFERENCE CALL
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14
15                                 BEFORE:
16                      HONORABLE MICHAEL M. MIHM
                       United States District Judge
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1                     APPEARANCES: (By Telephone)
2
3                         DAVID E. RISLEY, ESQ.
                    Assistant United States Attorney
4                         318 S. Sixth Street
                      Springfield, Illinois 62701
5
                                  -- and --
6
                           MS. JOANNA BALTES
7                        Department of Justice
                       Counterterrorism Section
8                     950 Pennsylvania Avenue NW
                         Washington, DC 20530
9               (Appeared on Behalf of the Government)
10
                           L. LEE SMITH, ESQ.
11                        Hinshaw & Culbertson
                       416 Main Street, Suite 600
12                       Peoria, Illinois 61602
13                                -- and --
14                     ANDREW J. SAVAGE III, ESQ.
                         Savage & Savage, P.A.
15                         15 Prioleau Street
                   Charleston, South Carolina 29401
16
                                  -- and --
17
                       LAWRENCE S. LUSTBERG, ESQ.
18                             Gibbons PC
                           One Gateway Center
19                     Newark, New Jersey 07204
                 (Appeared on Behalf of the Defendant)
20
21
22
23                      Karen S. Hanna, C.S.R.
                     U.S. District Court Reporter
24                  Central District of Illinois
      Proceeding recorded by mechanical stenography, transcript
25    produced by computer
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1                THE COURT: This is case number 09-10030. Is
2     Mr. Al-Marri on the phone?
3                THE DEFENDANT: Yes, Your Honor.
4                THE COURT: Lee Smith?
5                MR. SMITH: Yes, Your Honor.
6                THE COURT: Andrew Savage?
7                MR. SAVAGE: Yes, sir.
8                THE COURT: Lawrence Lustberg?
9                MR. LUSTBERG: Yes, Your Honor.
10               THE COURT: David Risley?
11               MR. RISLEY: Yes.
12               THE COURT: Joanna Baltes?
13               MS. BALTES: Yes, Your Honor.
14               THE COURT: Okay. We set this up because I
15    think Mr. Smith and Mr. Savage indicated to my secretary
16    that there was some problem or unresolved situation or
17    dispute of some sort concerning discovery, so here's the
18    opportunity to discuss it.
19               MR. SMITH: Thank you, Your Honor. This is Lee
20    Smith. Mr. Savage and I were down here at the prison in
21    Pekin on Friday with our client and it occurred to us that
22    we probably ought to bring to the Court's attention some
23    delays that we have experienced in the delivery of
24    discovery that has been requested and specifically the
25    logs that were the subject of some discussion at the
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1     hearing on September 3.
2                If you recall, these were the logs from the brig
3     at Charleston and I think at that hearing Ms. Lever had
4     said that they were -- they had some problems with the
5     documents because -- they were electronic problems, I
6     think she said, and the Court at that time said, well,
7     that this had to be given a high priority, and Ms. Lever
8     said she expected the documents would be produced the
9     following week and in fact they were not produced the
10    following week nor the week after, which was last week,
11    and this has become a critical delay. We just received --
12               THE COURT: You still don't have them?
13               MR. SMITH: No, Your Honor. And we received the
14    pre-sentence report on Thursday, the draft of that. There
15    are some parts of that pre-sentence report where we may
16    need the logs to respond to that. I understand from an
17    exchange of e-mail between Mr. Lustberg and Ms. Baltes
18    that perhaps those documents will be received this
19    afternoon or sometime today, but the fact of the matter is
20    we haven't received those yet and those documents are, as
21    I say, critical not only to respond to the pre-sentence
22    report, but also there may be videos that we would seek to
23    view based upon those logs. So we have provided a list of
24    the videos that we want, but there may be others depending
25    on what those logs --
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1                 THE COURT: Well, have the videos been provided?
2                 MR. SMITH: No, Your Honor. Well, I think we
3     have provided just within the last, I think earlier today
4     perhaps, a list of the dates we wanted the videos on, but
5     those we have not received.
6                 THE COURT: All right. Ms. Baltes, what's the
7     response?
8                 MS. BALTES: I mean, first I would like to say
9     if Mr. Smith or Mr. Savage had called me last week, I
10    would have been able to tell them the same thing that I
11    will tell you, Your Honor, that there is about 13,000
12    pages of electronic discovery that I probably will be able
13    to e-mail to Mr. Lustberg today. And I do apologize for
14    the delay. I know Ms. Lever indicated in court that it
15    would hopefully be produced the following week. The
16    following week I was able to get the rest of the summaries
17    out that the Court had approved, but unfortunately we had
18    to go back to the brig and have them reburn all of the
19    electronic discovery for us because we couldn't make any
20    headway with the disk that we had, so I have -- we had to
21    deal with some priority issues with the software, which we
22    are still playing with the second disk, but we were able
23    to get that done and I then had to review the 13,000
24    pages, which I finished doing over the weekend, and they
25    are right now in the process of being Bate stamped and I
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1     think about 9,000 pages are done and I expect probably in
2     the next hour the rest of it will be done and it will be
3     able to be e-mailed to Mr. Lustberg. So we understand
4     that it is of priority to the defense and we have been
5     working as diligently as possible to get the discovery to
6     them.
7                As far as the videos, I had discussed this back
8     when I was at the brig in June. I think the defense is
9     well aware that there were videos of every single second
10    and minute of the defendant's time that he spent at the
11    brig. And at that time I indicated that if they were
12    interested in viewing some of those videos, I needed the
13    dates and I did receive those dates today. I spoke with
14    Mr. Lustberg about it and because some of the dates
15    coincide with some of the interrogation sessions, those
16    videos need to be -- originally we talked about having
17    Mr. Savage go to the brig and review them himself, which I
18    was happy to try and facilitate. I spoke to the brig
19    about that. Because some of the dates of the videos they
20    are requesting coincide with the interrogation sessions, I
21    need to review those videos to make sure that there's no
22    interrogation staff that appears on those videos.
23               THE COURT: How many videos have been requested?
24               MS. BALTES: The request that I received today,
25    I think it's over 30.
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1                THE COURT: All right.
2                MS. BALTES: Looks like it's actually -- it's
3     many more than that actually. It's probably 50. Larry,
4     I'm not sure when you compiled this if you took a count of
5     that. I'm trying to count the dates you sent me today.
6                THE COURT: Well, wouldn't it make some sense,
7     Mr. Savage, for you to, once she does whatever has to be
8     done before you look at them, for you to go to the brig
9     right away and look at them and find out which ones you
10    want copies of instead of causing more copies to be made
11    than may be --
12               MR. SAVAGE: Judge, this is Andy Savage. I
13    would be more than happy to do that. The one caveat that
14    we should make you aware of is those dates may change upon
15    production of the logs. As you can imagine, all those
16    dates seem to run together with our client and he has
17    given us indications of what we should look for, but if we
18    have the logs then we could focus in on those particular
19    dates. It may, in fact, cut down on the number of
20    videotapes we're looking for and, on the other hand, it
21    may increase the number, but we're looking for very
22    specific things in those tapes.
23               THE COURT: By the way, I should have mentioned
24    and forgot at the beginning. We do have one
25    representative from the news media here because this
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1     hearing is open to the public. Andy Kravetz from the
2     Journal Star is here.
3                Well, so this 13,000 pages, is that the universe
4     of information, Ms. Baltes, that they had requested?
5                MS. BALTES: That is the last piece of
6     outstanding discovery that we were in the process of
7     providing. Obviously now since then and once the defense
8     has an opportunity to look at it, I'm expecting, yes, that
9     the dates might change for the videos, but the videos is
10    something that has come up recently. This isn't the
11    subject of the same discovery requests back in May and
12    June that we've been working on. So obviously we will do
13    everything we can to accommodate, but, you know, there are
14    a lot of dates that the defense is requesting for the
15    videos, so it does take time unfortunately to go through
16    and look at those and make sure there's nothing on there
17    that would be something that the Government would be
18    concerned about.
19               THE COURT: I agree with that, but let me make a
20    couple of comments. First of all, I'm not real happy
21    about the fact that these 13,000 pages are just being
22    turned over today. I understand that there were problems,
23    but I also, I thought, made it clear at the last hearing
24    that I wanted this expedited. Secondly, in terms of --
25    and as I understand it, the 13,000 pages are going to be
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1     turned over today. Is that right?
2                MS. BALTES: Yes. There's six files that I will
3     be sending to Mr. -- five files. Four of them are ready
4     to go. I am waiting on the last one. Since we have been
5     on the call, I think I have received the last one via
6     e-mail, so they will be able to be e-mailed. They will be
7     in PDF format. So those will be transmitted as soon as we
8     finish this call today.
9                THE COURT: In terms of the videos, you said you
10    have to look at them?
11               MS. BALTES: Well, I mean back in June I said I
12    need to know what --
13               THE COURT: I understand that, but the point I
14    want to make is you're not the only one who works in this
15    unit. Can't someone help you with that or other people do
16    it in a more committed manner?
17               MS. BALTES: Well, I certainly will -- I
18    certainly will enlist help as needed to view it, but, I
19    mean, I guess I feel it's a little unfair for me to be on
20    the hook for these videos when I'm just getting the dates
21    today. I will do everything I can to --
22               THE COURT: Well, what was used as the basis for
23    the dates that you were given today? Is that --
24               MS. BALTES: I don't know. I mean, that's what
25    I've been -- when I was back at the brig, I indicated to
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1     the defense and I think they are well aware there has been
2     video from every single day and that if they were
3     interested in those -- because at the time I was at the
4     brig, I said we're not copying every single minute of
5     every single hour for the last year. No, they said,
6     that's reasonable. Of course we will let you know if we
7     want to see any specific one. So today I received the
8     specific dates.
9                THE COURT: Mr. Smith, Mr. Savage, what did you
10    base these dates on you're asking for?
11               MR. SAVAGE: Your Honor, first of all,
12    Mr. Lustberg in his letter to Mr. Risley of May 18 on
13    page 2, full paragraph 3, asked for all the audio and
14    video recordings, so it's somewhat disingenuous to say
15    this has been a delayed request. The dates that we
16    selected that were provided by Mr. Lustberg to the U.S.
17    Attorney today were based on guesses that we made
18    consistent with the summaries that Your Honor has provided
19    to us. We don't know, however, whether or not those dates
20    that are listed in the summaries are actually
21    authenticated or the Government has not certified those
22    dates to be accurate, so we are relying on those summaries
23    for approximate dates of what we are looking for.
24    Certainly we expected to see the logs some time ago. This
25    was not a matter that was developed in the September 3
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1     hearing, but it was a matter that developed in prior
2     hearings before this Court. You will recall that Your
3     Honor has urged the Government to provide these logs. The
4     reason that these logs are so important is that it will
5     give reminders to our client, Mr. Al-Marri, so when we
6     refer to the specific dates we will be able to talk to
7     Mr. Al-Marri who hopefully then his memory will recollect
8     a specific instance of the incidents we're looking for on
9     those dates.
10               THE COURT: Well, you will have the logs today.
11    I guess the question --
12               MR. SAVAGE: -- all 36,000 lines of them, which
13    means they're going to Mr. Lustberg. He will send them to
14    me. I will travel to Peoria and sit down with
15    Mr. Al-Marri, so --
16               THE COURT: Thank you.
17               MR. SAVAGE: So it's --
18               THE COURT: I'm well aware of how much 13 -- I'm
19    well aware of how much 13,000 is. What I'm trying to do
20    is figure out the best way to get this done in the most
21    orderly fashion.
22               The question that comes to my mind is because of
23    the fact that the request you've made for videos is
24    somewhat unscientific at this point because you haven't
25    had the logs, what is everyone's sense as to whether or
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1     not we should go ahead and try to get these 30-plus videos
2     cleared for review as quickly as possible or does it make
3     more sense to check the logs first?
4                MS. BALTES: Well, I just also want to mention,
5     too, that the discovery that was provided from the brig,
6     the approximate 600 pages, certainly provided a lot of
7     information about dates that the defense might have been
8     interested in, so I don't know if you can use that to
9     narrow it down. Obviously you will have the logs today,
10    but --
11               THE COURT: Well, let me ask defense counsel,
12    the requests that you made today, are those based in part
13    on the information you have from the 600 pages?
14               MR. SMITH: This is Lee Smith. Mr. Al-Marri
15    informs me that -- and he has reviewed those 600 pages and
16    he tells me that they really don't provide enough detail
17    to be able to request specific videos.
18               MR. SAVAGE: Although, Judge, Mr. Al-Marri did
19    participate in trying to guesstimate the dates that we
20    were looking for based on those 600 pages.
21               THE COURT: Well, my question is this. I mean,
22    everybody is concerned about the rightness of their
23    position or the wrongness of somebody else's position.
24    Here we are. It is now the 21st of September. Based on
25    the fact that the 13,000 pages are going to be delivered
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1     today and the fact that the 30-plus video requests have
2     been made as of today, what is the most sensible way to
3     proceed here so we can maintain our two sentencing days of
4     October 28 and 29?
5                THE DEFENDANT: Your Honor, Your Honor --
6                THE COURT: Who is speaking?
7                THE DEFENDANT: This is Al-Marri.
8                THE COURT: Well, I really think it's a mistake
9     for you to talk, sir. I think you should speak through
10    your attorneys.
11               MR. SAVAGE: Your Honor, I will speak for
12    Mr. Al-Marri with the understanding that what he told me
13    on Friday remains accurate and that is that he desires to
14    move forward on the sentencing date the Court has already
15    suggested. He has also asked me to ensure that his
16    attorneys are properly prepared for that sentencing
17    hearing. So as I understood his position, I report to the
18    Court that he does not want the sentencing date to be
19    changed, but he also does not want to get anything less
20    than a full effort from his defense team to mitigate the
21    sentence the Court might impose.
22               THE COURT: Well, that's fine. I think we can
23    all agree on that.
24               MS. BALTES: Maybe I can suggest -- I mean,
25    generally from the dates that I looked at today, obviously
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1     they're seeking video that would show Mr. Al-Marri either
2     coming to or going to interrogation sessions or what his
3     feelings were around those dates. I mean, I don't think
4     that there's any reason why the Government wouldn't
5     stipulate if Mr. Al-Marri wants to let you know what he
6     was feeling, that that was in fact true, and I understand
7     you might want video to show that to the Court, but maybe
8     if you could minimize the number of videos you're
9     interested in as opposed to the list I got today, you
10    know -- I mean, certainly the Government understands what
11    you're trying to do with the videos and we don't --
12    there's nothing that concerns us and there's no objection
13    we have to you making that demonstration to the Court, but
14    maybe we can cut down the number of dates that you're
15    looking for to make it feasible because there's an awful
16    lot of video we're going to have to go through for the
17    dates that you gave me today.
18               THE COURT: Well, let me ask this. Have defense
19    counsel considered the possibility of submitting a
20    proposed set of stipulations to the Government that would
21    address -- who knows what? Can --
22               MR. SAVAGE: Actually, yes, we have done that
23    and Mr. Lustberg is prepared to move forward on that list
24    of stipulations that we compiled approximately a month ago
25    in anticipation that the deadline was getting closer and
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1     perhaps we could reach some consensus. Is that correct,
2     Larry?
3                 MR. LUSTBERG: Yes, I'm happy to finalize that
4     and we haven't talked about that for a few weeks, but in
5     light of today's session we will certainly do that.
6                 MS. BALTES: And Mr. Lustberg and I also
7     discussed the possibility of using stipulations for some
8     of the witnesses that you are seeking, particularly from
9     the Navy that are spread out all over the world at this
10    point, and the Government has indicated we're happy to do
11    that. We're not -- you know, the facts I think you want
12    to get before the Court are not facts that the Government
13    disputes.
14                THE COURT: Well, first of all, I would strongly
15    encourage the parties to explore stipulations, not a week
16    from now but as soon as possible, so that it may be that
17    to some extent some of the information that you're seeking
18    through that will become evident in the 13,000 pages or
19    the videos may well not be in dispute and you may be able
20    to focus your attention much more carefully on what it is
21    you really need. Having said that -- and I do direct you
22    to immediately, to as soon as possible have that
23    conversation concerning stipulations. Secondly, I do
24    expect that this 13,000 pages will be electronically
25    delivered today. I also direct that the videos that have
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1     been specifically requested, that someone will as soon as
2     possible conduct the review of those so that they can be
3     turned over for viewing, made available for viewing by
4     defense counsel at the earliest opportunity. And I would
5     remind both sides that the Government's brief on
6     sentencing is due on October 2 and the defendant's brief
7     is due on October 16, so we're really getting down to
8     crunch time here I think.
9                MR. SMITH: Judge, one question. I think I
10    heard this a couple of different ways and I want to make
11    sure when we get it that it's complete or not. I think
12    the Court said 13,000 pages and then I think I remember
13    somebody else saying it was 13,000 lines.
14               MS. BALTES: 360,000 lines and it's 13,000
15    pages, approximately 13,000 pages.
16               MR. SMITH: That's fine.
17               THE COURT: All right. Anything else?
18               MR. SAVAGE: Judge, we have made requests to
19    interview certain civilian and military members of DOD.
20    That request was made on a timely basis in accordance with
21    the wishes of the Government. We have not gotten anywhere
22    with that. I have advised the Government I'm willing to
23    travel, not to inconvenience those members of the military
24    or the civilian members employees of DOD.
25               THE COURT: Well, this again might be another
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1     situation where stipulations could be worked out, but what
2     is the status --
3                 MR. SAVAGE: The problem is I would like to
4     speak to the witnesses so that I would not ask for a
5     stipulation on something that the witness himself or
6     herself cannot support.
7                 THE COURT: All right. Well, what is the status
8     of that, Ms. Baltes?
9                 MS. BALTES: I spoke to Mr. Lustberg about that
10    today. He indicated -- I mean, just so you know, the
11    witness requests were sent to the Navy and the Navy began
12    the process of trying to track down where the witnesses
13    were and in many cases, most cases, they are not at the
14    brig any more.
15                MR. SAVAGE: Well, actually we submitted the
16    request in accordance with the federal law just as we did
17    for the bond hearing and the response we received from DOD
18    was within 48 hours.
19                MS. BALTES: I'm not -- I am the Government and
20    I understand that I'm representing the Government, but
21    your request was made to the Navy and the Navy has certain
22    things they have to do to track their witnesses down.
23    That's --
24                MR. SAVAGE: That request was made to the
25    Department of Justice who received a copy of the letter
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1     send to the statutorily required address we were to send
2     it to.
3                MS. BALTES: I understand that and, again, as I
4     spoke to Mr. Lustberg today, we've been talking about
5     stipulations because the message I received was that
6     you're not interested in having all the witnesses fly
7     around from all over the country, all over the world, and
8     if you could do something over the telephone and I
9     suggested a stipulation either a week or two ago, if that
10    would work out, so that's not --
11               THE COURT: Let me make a couple of comments.
12    First of all, I don't care whether it's done through DOJ
13    or the Department of the Navy. I find it very difficult
14    to believe that the location of military personnel cannot
15    be determined within say 24 hours. I mean, that's just --
16    I would be amazed. And in fact if it's not true, then I'm
17    worried. It should not be a big deal to find out where
18    these people are.
19               Secondly, I would certainly encourage the idea
20    of talking with them over the phone so that nobody has to
21    travel. Third, again, stipulations would be great. I can
22    understand why they may want to talk to the witness first.
23    Then, last, it seems to me that to some extent defense
24    counsel need to coordinate what you're doing or what's
25    going on better than what it sounds like now.
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1                 So having said all that, does anybody else have
2     anything today? I expect that the locations of these
3     people that have been identified -- I don't care how you
4     do it, but if it's not done in 48 hours, I want to know
5     about it.
6                 MS. BALTES: Judge, I believe that that has been
7     done and the additional information I believe -- and I
8     know there were a couple of different requests for either
9     witnesses from the Navy and maybe some other military
10    organization or some other branch of the forces, but the
11    additional information was what were they interested in so
12    that the Navy wasn't tracking down ten different witnesses
13    that really had nothing relevant to say. So I understand,
14    Your Honor. I will make sure that I speak to the DOD
15    attorneys to find out whether they can set up some type of
16    phone call with the witnesses. But if this information
17    was coming directly to me, it would definitely help
18    facilitate things for the defense.
19                MR. LUSTBERG: Judge, this is Larry Lustberg.
20    We'll make --
21                THE COURT: I'm having trouble hearing you,
22    Mr. Lustberg.
23                MR. LUSTBERG: I'm sorry. I'm on a cell phone.
24    You know, just in response to your observations that we're
25    not coordinated, I mean we have always insisted we wanted
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1     the opportunity to speak to these people before we
2     consider stipulations, so there's no inconsistency there
3     at all. I think Your Honor's observation in that regard
4     is that -- you know, we will make sure that we confirm
5     with her after speaking amongst ourselves exactly which
6     witnesses we're interested in. I do believe there have
7     been requests on that. We will confirm those and make
8     sure we're all on the same page.
9                MS. BALTES: I understand there were requests
10    and I understand that you had downsized your requests, so,
11    again, if someone can give me the updated list of which
12    witnesses you're interested in, why you're interested in
13    them, then I will get with DOD to make sure that they try
14    to make them available for a phone call.
15               MR. LUSTBERG: We'll talk because I think the
16    only witness that we downsized was one FBI witness. We'll
17    discuss it and get back to you.
18               THE COURT: Anything else today?
19               MR. SMITH: Nothing from us, Your Honor.
20               THE COURT: Anything else from the Government?
21               MS. BALTES: No, Your Honor.
22               THE COURT: All right. Thank you.
23
24                    * * * HEARING CONCLUDED * * *
25
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1                         REPORTER'S CERTIFICATE
2
3               I, Karen S. Hanna, certify that the
4    foregoing transcript constitutes a true and accurate
5    transcript of the original shorthand notes of the
6    proceedings had at the time and place aforesaid
7    before the HONORABLE MICHAEL M. MIHM, U.S. District
8    Judge.
9
10                                       s/ Karen S. Hanna____
                                         Karen S. Hanna, C.S.R.
11                                       License #084-001760
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